Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 1 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 2 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 3 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 4 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 5 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 6 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 7 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 8 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 9 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 10 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 11 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 12 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 13 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 14 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 15 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 16 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 17 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 18 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 19 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 20 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 21 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 22 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 23 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 24 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 25 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 26 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 27 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 28 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 29 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 30 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 31 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 32 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 33 of 34
Case 16-25795-LMI   Doc 1   Filed 11/28/16   Page 34 of 34
